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                 EXHIBIT 1
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16   Counsel for Defendants Dfinity USA
     Research LLC, Dfinity Foundation and
17   Dominic Williams

18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19
20   DANIEL VALENTI, Individually and on Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                       DEFENDANTS’ NOTICE OF 30(b)(6)
                                 Plaintiff,              DEPOSITION OF FREEDMAN
22                                                       NORMAND FRIEDLAND LLP
               v.
23

24   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
25
                                 Defendants.
26

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         DEFENDANTS’ NOTICE OF 30(b)(6) DEPOSITION OF FREEDMAN NORMAND FRIEDLAND LLP
                                     CASE NO. 3:21-CV-06118-JD
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 1             PLEASE TAKE NOTICE THAT pursuant to Federal Rule of Civil Procedure 30(b)(6),

 2   Defendants Dfinity USA Research LLC, Dfinity Foundation and Dominic Williams will take the

 3   deposition of Freedman Normand Friedland LLP on the topics set forth in Exhibit A, attached

 4   hereto.

 5             The deposition will commence at 9:00 a.m. on February 16, 2023, at the law offices of

 6   Cravath, Swaine & Moore LLP, 825 Eighth Avenue, New York, NY, and shall continue day to

 7   day until completed. The deposition will be recorded stenographically, and by video, before a

 8   notary public or other officer authorized to administer oaths.

 9

10    Dated:           February 9, 2023            CRAVATH, SWAINE & MOORE LLP
11
                                                   /s/ Kevin J. Orsini
12                                                 Antony L. Ryan (admitted pro hac vice)
                                                   Kevin J. Orsini (admitted pro hac vice)
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         DEFENDANTS’ NOTICE OF 30(b)(6) DEPOSITION OF FREEDMAN NORMAND FRIEDLAND LLP
                                     CASE NO. 3:21-CV-06118-JD
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                                              EXHIBIT A

                                              Definitions

   1.      “Freedman Normand Friedland”, “FNF”, “Roche Freedman”, “You” or “Your” means

Freedman Normand Friedland LLP (f/k/a “Roche Freedman LLP”) and any of its current and

former partners, employees, representatives, agents, other Persons, or entities acting on behalf of

or controlled by Freedman Normand Friedland LLP, such as, without limitation, any company,

partnership, or other entity owned, in whole or in part, where Freedman Normand Friedland LLP

owns at least 5% of the equity, directly or indirectly, or controlled by Freedman Normand

Friedland LLP.

   2.      “Ava Labs” means “Ava Labs, Inc.” and any of its current and former officers,

directors, employees, representatives, agents, other Persons, or entities acting on behalf of or

controlled by Ava Labs, Inc., such as, without limitation, any company, partnership, or other entity

owned, in whole or in part, where Ava Labs, Inc. owns at least 5% of the equity, directly or

indirectly, or controlled by Ava Labs, Inc.

   3.      “Mr. Roche” means (1) Kyle W. Roche, the former named partner of Roche Freedman

whose withdrawal from that firm was publicly announced in October 2022; and (2) Kyle Roche

PA, the law firm founded by Mr. Roche in or around October 2022.

   4.      “Action” means the case captioned Valenti v. Dfinity USA Research LLC et al., 3:21-

cv-06118 (N.D. Cal.).

   5.      “AVAX Token” means the digital token issued by Ava Labs in connection with the

Avalanche platform.

   6.      “Ava Labs Digital Asset” means any digital asset associated with Ava Labs other than

AVAX Tokens.

   7.      “Communication” means any disclosure, transfer, or exchange of information or

opinion, however made, including, but not limited to, emails, text messages, messages sent via

Slack or other messaging platforms (e.g., Jabber, Signal, Discord, Telegram) and telephonic and

in-person exchanges.

   8.      “Wallet” refers to a device or service that stores users’ public and private keys and

allows them to interact with various blockchains, including allowing users to store digital assets
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or cryptocurrencies and/or validate transactions involving same.

   9.      “Wallet Address” refers to the unique combination of alphanumeric characters to and

from which digital assets may be sent.

                                      Rule 30(b)(6) Topics

   1.      The relationship, interactions and communications between You and Ava Labs from

2019 to the present, including, but not limited to, in connection with the founding of Roche

Freedman in 2019, and excluding any communications concerning the case Emin Gün Sirer v.

Emre Aksoy, No. 21-cv-22280 (S.D. Fla.) that are subject to the attorney-client privilege and/or

work product protection.

   2.      Equity ownership or other interests in Ava Labs held by FNF and/or by its partners in

their individual capacities, and FNF’s and/or its individual partners’ ownership or other interests

in AVAX Tokens and/or Ava Labs Digital Assets, including but not limited to: (1) the number of

AVAX Tokens and/or Ava Labs Digital Assets FNF and/or each individual partner received at or

around the time Roche Freedman was founded; (2) the number of AVAX Tokens and/or Ava Labs

Digital Assets FNF and/or each individual partner has received since that time; (3) the dates on

which FNF and/or each individual partner sold AVAX Tokens and/or Ava Labs Digital Assets,

and at what price; (4) the market value as of February 15, 2023 of the AVAX Tokens and/or Ava

Labs Digital Assets held by FNF and/or each individual partner; (5) the Wallet Address(es)

associated with the Wallet(s) where such AVAX Tokens and/or Ava Labs Digital Assets are

stored; (6) the reason(s) FNF and/or its individual partners received equity ownership or other

interests in Ava Labs, and/or received ownership or other interests in AVAX Tokens and/or Ava

Labs Digital Assets; and (7) the circumstances under which such ownership or other interests

arose.

   3.      All individuals who are or were partners in, employed by or otherwise associated with

FNF who have represented or otherwise worked for Ava Labs or any of its officers and/or

employees, and the nature of such representation or work.

   4.      The investigation FNF purportedly conducted in connection with Mr. Roche’s

statements (see Hr’g Tr. 3:23-4:9), including but not limited to the investigation’s scope, any


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findings and any actions taken in response, including but not limited to any ethical walls relating

to this Action.

   5.      Any ongoing personal, professional and/or business relationships between You and

Mr. Roche and/or any current, future or potential joint representations by You and Mr. Roche.




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